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 5   Attorney for Defendant
     Nicholas Ramirez
 6
                     IN THE UNITED STATES DISTRICT COURT
 7
               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,         )   Case No. 2:12-MJ-00102 GGH
10                                     )
               Plaintiff,              )   APPLICATION AND ORDER FOR
11                                     )   TRANSPORTATION
         vs.                           )   PURSUANT TO U.S.C § 4285
12                                     )
     NICHOLAS RAMIREZ,                 )   Magistrate Judge Gregory G.
13                                     )   Hollows
               Defendant               )
14                                     )
15
         Defendant, Nicholas Ramirez, through undersigned counsel,
16
     hereby requests an order for transportation pursuant to 18
17
     U.S.C. § 4285. Mr. Ramirez is financially unable to provide the
18

19   necessary transportation from his place of residence in

20   Sacramento, California, to Oklahoma City, Oklahoma, for his

21   arraignment in 5:12-cr-0090-R-22, on May 3, 2012, at 3:00 p.m.,

22   in Courtroom 103, before Magistrate Judge Bana Roberts.         This

23   Court released Mr. Ramirez on an unsecured bond on April 19,
24   2012, subject to pretrial services supervision and his future
25
     appearance in the Western District of Oklahoma.



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 1       Accordingly, the defendant Nicholas Ramirez, requests the
 2   court to direct the United States Marshal to furnish the
 3
     defendant with transportation between Sacramento, California and
 4
     Oklahoma City, Oklahoma.
 5
     DATED: April 27, 2012            Respectfully submitted,
 6

 7
                                      /s/Michael B. Bigelow
 8                                    MICHAEL B. BIGELOW
                                      Attorney for Defendant
 9                                    Nicholas Ramirez
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 1                     IN THE UNITED STATES DISTRICT COURT
 2               IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 3

 4   UNITED STATES OF AMERICA,           )   Case No. 2:12-MJ-00102 GGH
                                         )
 5               Plaintiff,              )   ORDER FOR TRANSPORTATION
                                         )   PURSUANT TO U.S.C § 4285
 6       vs.                             )
                                         )   Magistrate Judge Gregory G.
 7   NICHOLAS RAMIREZ,                   )   Hollows
                                         )
 8               Defendant               )
 9
         TO: UNITED STATES MARSHAL, EASTERN DISTRICT OF CALIFORNIA
10

11       GOOD CAUSE APPEARING, it has been determined that

12   defendant, Nicholas Ramirez is financially unable to provide the

13   necessary transportation from his place of residence in

14   Sacramento, California, to Oklahoma City, Oklahoma.
15       IT IS HEREBY ORDERED that, pursuant to 18 U.S.C. §4285, the
16
     United States Marshals Service for the Eastern District of
17
     California shall make travel arrangements, or furnish
18
     transportation expenses, to the above-named defendant for his
19
     arraignment hearing on Thursday, May 3, 2012, at 3:00 p.m.              Mr.
20
     Ramirez is financially unable to be in Oklahoma City on this
21
     date without transportation expenses.
22
     Date:   4/30/2012
23
                                        __________________________________
24
                                        KENDALL J. NEWMAN
                                        UNITED STATES MAGISTRATE JUDGE
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